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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                UNITED STATES BANKRUPTCY COURT
 88                              CENTRAL DISTRICT OF CALIFORNIA
                                       SANTA ANA DIVISION
 99
      In re:                                        Lead Case No.: 8:22-bk-10948-SC
10
10
      TRX HOLDCO, LLC, a Delaware limited           Jointly administered with:
11
11    liability company,                            8:22-bk-10949-SC
12
12
              Debtor and Debtor in Possession.      Chapter 11 Cases
13
13    ____________________________________
      In re:                                        NOTICE OF HEARING ON DEBTORS’
14
14                                                  MOTION FOR ENTRY OF ORDER (I)
      FITNESS ANYWHERE LLC, a Delaware              ESTABLISHING BIDDING PROCEDURES
15
15    limited liability company, dba TRX and TRX    FOR FREE AND CLEAR SALE OF ASSETS;
      Training,                                     (II)     ESTABLISHING     PROCEDURES
16
16                                                  RELATING      TO     ASSUMPTION  AND
                                                    ASSIGNMENT          OF     EXECUTORY
17
17            Debtor and Debtor in Possession.      CONTRACTS AND UNEXPIRED LEASES;
      ____________________________________          (III) APPROVING FORMS OF NOTICE; (IV)
18
18                                                  APPROVING FORM OF ASSET PURCHASE
                                                    AGREEMENT;      (V)   SCHEDULING  AN
19
19       Affects both Debtors                       AUCTION; (VI) SCHEDULING A SALE
                                                    HEARING; AND (VII) GRANTING RELATED
20
20
        Affects TRX Holdco, LLC only                RELIEF
21
21
         Affects Fitness Anywhere, LLC only         Date: June 30, 2022
22
22                                                  Time: 10:00 a.m.
                                                    Place: *Via ZoomGov
23
23                                                         Courtroom 5C
                                                           411 West Fourth Street
24
24                                                         Santa Ana, CA 92701
25
25
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26
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28


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 11   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 22   JUDGE, THE UNITED STATES TRUSTEE, THE DEBTORS’ CREDITORS AND

 33   EQUITY SECURITY HOLDERS, AND ALL PARTIES WHO HAVE REQUESTED

 44   SPECIAL NOTICE IN THESE CASES:

 55          PLEASE TAKE NOTICE that, pursuant to Rule 6004-1(b)(1) of the Local Bankruptcy

 66   Rules, a hearing will be held on June 30, 2022, at 10:00 a.m., via ZoomGov, for the Court to

 77   consider the motion (“Motion”) filed by TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere

 88   LLC, dba TRX and TRX Training (“Product Co” and together with Hold Co and Product Co,

 99   the “Debtors”), the debtors and debtors-in-possession in the above-captioned Chapter 11
10
10    bankruptcy cases1, seeking the entry of an order that, among other things:
11
11           (i)     Approves the Debtors’ proposed bidding procedures (“Bidding Procedures”)
12
12    attached as Exhibit “2” to the concurrently filed Declaration of Joshua Benn for the sale of
13
13    substantially all of the Debtors’ assets related to the operation of the Debtors’ business (the
14
14    “Purchased Assets”), free and clear of all liens, claims, encumbrances and other interests;
15
15           (ii)    Establishing and approving procedures relating to the Debtors’ assumption and
16
16    assignment of executory contracts and unexpired leases and which approves the form of notice to
17
17    be provided to all counterparties to executory contracts;
18
18           (iii)   Approving the Debtors’ proposed form of notice to be sent to all creditors, equity
19
19    holders, proposed buyers and other parties;
20
20           (iv)    Approving the Debtors’ proposed form of asset purchase agreement (the
21
21    “Template APA”) without exhibits;
22
22           (v)     Scheduling an auction (“Auction”);
23
23           (vi)    Scheduling a hearing to consider approval of the sale of the Purchased Assets to
24
24    the winning bidder and winning back-up bidder at the Auction (“Sale Hearing”); and
25
25           (vii)   Granting related relief.
26
26
27
27
      1
       The Court previously entered an order approving the joint administration of these chapter 11
28
28    bankruptcy cases.


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 11           PLEASE TAKE FURTHER NOTICE that information to access and attend the virtual

 22   hearing via ZoomGov can be obtained on the Bankruptcy Court’s website by viewing the

 33   tentative ruling calendar of the Honorable Scott C. Clarkson for June 30, 2022.

 44           PLEASE TAKE FURTHER NOTICE that any response in opposition to the Motion

 55   must be filed and served at least one (1) day prior to the hearing on the Motion, i.e., June 29,

 66   2022.

 77           PLEASE TAKE FURTHER NOTICE that the Motion is based upon this Notice, the

 88   Memorandum of Points and Authorities annexed to the Motion, the concurrently filed Declaration

 99   of Joshua Benn (“Benn Declaration”) and all Exhibits attached thereto, the entire record of the
10
10    Debtors’ bankruptcy cases, the statements, arguments, and representations of counsel to be made
11
11    at the hearing on this Motion, and any other evidence properly presented to the Court.
12
12            PLEASE TAKE FURTHER NOTICE that the failure of a party in interest to file and
13
13    serve a timely objection to the Motion may be deemed by the Court to constitute such party’s consent
14
14    to all of the relief requested by the Debtors in the Motion.
15
15                                           Additional Information
16
16            Parties requesting a copy of the Motion, the Benn Declaration, the Bidding Procedures or
17
17    any other information pertaining to the Motion may obtain such copies and information by
18
18    contacting proposed counsel to the Debtors – Levene, Neale, Bender, Yoo & Golubchik L.L.P.,
19
19    Attn: Krikor J. Meshefejian, Esq., Email: KJM@LNBYG.COM.
20
20            The documents referenced above and in the Motion are substantially complete, but
21
21    subject to continuing discussions, revisions and amendments, and, thus, may not yet be final. If
22
22    any changes are made to any such documents, the Debtors will file the updated versions with the
23
23    Court prior to the hearing date on the Motion.
24
24            The complete bases of the Motion are set forth in the Memorandum of Points and
25
25    Authorities annexed to the Motion and the supporting Benn Declaration filed concurrently
26
26    herewith. The Debtors have scheduled a hearing on the Motion pursuant to Local Bankruptcy
27
27    Rule 6004-1(b) given the Debtors’ financial situation and desire to consummate a sale of the
28
28    Purchased Assets as soon as possible but at the same time establishing bidding procedures that


                                                          3
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 11   have been carefully thought out and vetted with the Debtors’ investment banker designed to

 22   achieve the highest and best price possible for the Purchased Assets under the circumstances of

 33   these chapter 11 bankruptcy cases.

 44          As set forth in the Debtors’ various first-day motions, the Debtors made a determination

 55   shortly prior to their bankruptcy filings that proceeding with a free and clear asset sale process

 66   was in the best interests of their estate. While it appears that there is a substantial amount of

 77   interest in the buying community to acquire the Debtors’ business and by many to serve as a

 88   stalking horse bid, since the Debtors only commenced their free and clear asset sale process

 99   shortly prior to their bankruptcy filings, the Debtors do not yet have a stalking horse bid lined up.
10
10    The Debtors therefore believe that proceeding at this point to the Auction without a stalking
11
11    horse bid in hand is the best option for these bankruptcy estates, with the Debtors’ retaining the
12
12    right to seek an alternative order from the Court if facts and circumstances dictate otherwise.
13
13           After extensive consultation with the Debtors’ well regarded and experienced investment
14
14    banker in Kroll Securities, LLC (“Kroll”)2, and after taking into account the Debtors’ financial
15
15    situation, including the possibility that the Debtors’ will be provided with post-petition financing
16
16    from the Debtors’ pre-petition secured lender, Woodforest National Bank (the “Bank”), the
17
17    Debtors believe that the following is the optimal timetable in order to achieve the highest and
18
18    best price for the Purchased Assets3:
19
19           July 27, 2022 at 5 p.m. (prevailing Pacific time) – Initial Bid Deadline – Deadline by
20
20    when initial bids need to be submitted by parties who wish to participate in the Auction. In order
21
21    to participate in the Auction, all prospective bidders must do all of the following:
22
22
      2
23
23      The Debtors have filed an application to employ Kroll as their investment banker (and an
      affiliate of Kroll to serve as the Debtors’ financial advisor). The Debtors’ application to employ
24
24    Kroll as their investment banker is pending. The application proposes that in the event of a sale,
      Kroll’s fee shall equal to $700,000 plus (a) 6.0% of the consideration greater than $25,000,000
25
25    but less than or equal to $40,000,000, and (b) 12% of the consideration greater than $40,000,000.
26    The proposed transaction fee shall only be paid after the closing of the sale of the Debtors’ assets
26
      AND Bankruptcy Court approval of the transaction fee and the payment thereof.
      3
27
27      Additional information and details are provided in the Bidding Procedures document attached
      as Exhibit “2” to the concurrently filed Benn Declaration. Parties requesting a copy of the
28
28    proposed Bidding Procedures should contact proposed bankruptcy counsel to the Debtors.


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 11      1. Submit a redlined version of the template asset purchase agreement (the “Template

 22          APA”) indicating all changes that are requested to be made to the Template APA, with

 33          the Template APA to include their proposed initial bid;

 44      2. Submit all documents to enable Kroll to determine whether the proposed bidder is

 55          financially qualified to participate in the Auction; and

 66      3. Submit a deposit equal to 10% of the proposed initial bid, which 10% deposit would be

 77          deemed non-refundable if the bidder is deemed to be the winning bidder at the Auction

 88          and then the Debtors’ proposed free and clear sale of the Purchased Assets to the bidder

 99          is approved by the Bankruptcy Court. Bidders will have the right to withdraw their bid at
10
10           any time up until Noon (prevailing Pacific time) on August 2, 2022, in which case they
11
11           will receive a return of their 10% deposit and no longer be eligible to participate in the
12
12           Auction.
13
13       August 3, 2022 commencing at 10 a.m. (prevailing Pacific time) - Auction to be held at
14
14    the offices of Levene, Neale, Bender, Yoo & Golubchik L.L.P., which are located at 2818 La
15
15    Cienega Avenue, Los Angeles, CA, or via zoom with all Qualified Bidders to be provided with
16
16    particulars in advance of the Auction.
17
17           Sale Hearing - hearing for the Court to consider approval of the Debtors’ proposed sale
18
18    of the Purchased Assets to the winning bidder at the Auction – (to be set by Court at the hearing
19
19    on this Motion – the Debtors are seeking to have this hearing be the first date possible after the
20
20    August 3, 2022 Auction).
21
21           August 12, 2022 - Outside date by when the winning bidder at the Auction is required to
22
22    close its purchase of the Purchased Assets unless the winning bidder and the Debtors jointly
23
23    agree to extend the outside closing date.
24
24           These proposed Bidding Procedures are designed to ensure that the highest price possible
25
25    is paid for the Purchased Assets by a purchaser who has the financial ability to close on a
26
26    purchase of the Purchased Assets. This is being done by providing all prospective buyers with a
27
27
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28


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 11   level playing field with no bidder having any financial advantage over any other bidder.4 Kroll

 22   has already established an extensive data room and, to date, approximately 45 prospective

 33   bidders have signed NDA’s who are actively engaged in the data room in connection with the

 44   current asset sale process, and Kroll is receiving new and additional inquiries virtually daily –

 55   meaning that this is a very active asset sale process. Kroll is also in discussions with numerous

 66   prospective buyers regarding the possibility of serving as a stalking horse bidder. Even if the

 77   Debtors reach an agreement with a financially qualified buyer to serve as the stalking horse

 88   bidder which will then be presented to the Court for approval, the Debtors will still insist upon an

 99   overbid process to make sure that all prospective bidders have the opportunity to overbid the
10
10    stalking horse bid at an open Auction process to insure that the highest and best price is
11
11    ultimately paid for the Purchased Assets.
12
12           The Debtors (after extensive consultation with Kroll) are confident that the proposed
13
13    Bidding Procedures make the most sense under the circumstances of these cases to result in the
14
14    highest and best price being paid for the Purchased Assets.
15
15           For all of the reasons set forth herein and in the concurrently filed Motion and Benn
16
16    Declaration, the Debtors believes that the proposed Bidding Procedures and all of the relief
17
17    sought herein are in the best interests of the Debtors’ estates as they have been designed to
18
18    achieve the highest and best price for the Purchased Assets.
19
19           WHEREFORE, the Debtors respectfully requests that this Court do all of the following:
20
20           (1)     grant the Motion in its entirety;
21
21           (2)     enter the Bidding Procedures Order in substantially the form appended as Exhibit
22
22    “1” to the Benn Declaration;
23
23           (3)     Approve the Bidding Procedures substantially in the form described in Exhibit
24
24    “2” attached to the Benn Declaration for the sale of the Purchased Assets free and clear of all
25
25    liens, claims, encumbrances and other interests;
26
26
      4
27
27      The Debtors reserve the right to accept a stalking horse bid presented to the Debtors before
      July 27, 2022 and/or to seek a further order of the Bankruptcy Court to modify any of the terms
28
28    of these Bidding Procedures.


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 11          (4)    Establish and approve procedures relating to the Debtors’ assumption and

 22   assignment of executory contracts and unexpired leases and which approves the form of notice to

 33   be provided to all counterparties to executory contracts and unexpired leases attached as Exhibit

 44   “3” to the Benn Declaration;

 55          (5)    Approve the Debtors’ proposed form of notice to be sent to all creditors, equity

 66   holders, proposed buyers and other parties in interest in the form attached as Exhibit “4” to the

 77   Benn Declaration;

 88          (6)    Approve the Template APA (without exhibits) in the form attached as Exhibit

 99   “5” to the Benn Declaration;
10
10           (7)    Schedule the Auction for August 3, 2022 as requested in the Motion;
11
11           (8)    Schedule the Sale Hearing for the Court to consider approval of the Debtors’ sale
12
12    of the Purchased Assets to the winning bidder and winning back-up bidder at the Auction; and
13
13           (9)    Grant such other and further relief as the Court deems just and proper under the
14
14    circumstances.
      Dated: June 23, 2022                        TRX HOLDCO, LLC
15
15                                                FITNESS ANYWHERE LLC
16
16
                                                  By:     /s/ Ron Bender
17
17                                                        RON BENDER
                                                          KRIKOR J. MESHEFEJIAN
18
18                                                        LINDSEY L. SMITH
                                                          LEVENE, NEALE, BENDER,
19
19
                                                          YOO & GOLUBCHIK L.L.P.
20
20                                                        Proposed Attorneys for Chapter 11 Debtors
                                                          and Debtors in Possession
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON DEBTORS’ MOTION
FOR ENTRY OF ORDER (I) ESTABLISHING BIDDING PROCEDURES FOR FREE AND CLEAR SALE OF ASSETS;
(II) ESTABLISHING PROCEDURES RELATING TO ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES; (III) APPROVING FORMS OF NOTICE; (IV) APPROVING FORM OF
ASSET PURCHASE AGREEMENT; (V) SCHEDULING AN AUCTION; (VI) SCHEDULING A SALE HEARING; AND
(VII) GRANTING RELATED RELIEF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 23, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 23, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 23, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

                                                               Service information BY OVERNIGHT MAIL continued on attached page

                                                                               Service information BY EMAIL continued on attached page



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 23, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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In re Fitness Anywhere LLC and         Core Health & Fitness, LLC              Office of the U.S. Trustee
TRX                                    Sy Mares                                Michael J Hauser
File No. 9745                          smares@corehandf.com                    Michael.hauser@usdoj.gov
RSN UST, 20 Largest and Secured
EMAIL LIST

Flexport Inc                           Dirbos Inc.                             Duane Morris LLP
alyssa@flexport.com                    jon@dirbos.com                          Michael J. Silvernman
                                       (949) 466-1897                          mjsilverman@duanemorris.com



NetSuite Inc                           ISUPPORT WORLDWIDE LLC                  Syzygy Digital Marketing, Inc
Carmina.espinola@oracle.com            Courtney Bissett                        finance@syzygy.us
                                       cbissett@isupportworldwide.com          Geanina Scuipici
                                                                               Geanina.Scuipici@syzygy.co.uk



                                                                               McCollister's Transportation Group, Inc
Sprint FWD, LLC                       Counsel for Creative Artists Agency      sschukraft@mccollisters.com
Bryan Arp                             Michael I. Gottfried, Esq.
bryanarp@gmail.com                     mgottfied@elkinskalt.com


                                                                               Woodforest National Bank
UDR-Eight 80                           Morrison & Foerster LLP                 mhouston@reedsmith.com
rholly@udr.com                         Murray A. Indick                        crivas@reedsmith.com
                                       mindick@mofo.com


SprintFWD, LLC                        Comma,8 LLC
Bryan Arp                             Bryan Arp                                Counsel for Core Health & Fitness, LLC
bryanarp@gmail.com                     bryanarp@gmail.com                      Ali M.M. Mojdehi RSN
                                                                               amojdehi@btlaw.com
                                                                               arego@btlaw.com



Email block:



smares@corehandf.com; Michael.hauser@usdoj.gov; alyssa@flexport.com; jon@dirbos.com; mjsilverman@duanemorris.com;
Carmina.espinola@oracle.com; cbissett@isupportworldwide.com; finance@syzygy.us; bryanarp@gmail.com;
mgottfied@elkinskalt.com; sschukraft@mccollisters.com; rholly@udr.com; mindick@mofo.com; mhouston@reedsmith.com;
crivas@reedsmith.com; bryanarp@gmail.com; amojdehi@btlaw.com; arego@btlaw.com
        Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05       Desc
                                Main Document    Page 11 of 22
                                                                   Michael J Hauser
In re TRX Holdco, LLC                                              United States Trustee
File No. 9745                                                      411 W Fourth St Suite 7160
RSN UST, 20 Largest, Secured                                       Santa Ana, CA 92701-4593
 SERVICE BY OVERNIGHT MAIL


                                  Cole Schotz P.C.                 Creative Artists Agency
Baker Tilly US, LLP               25 Main Street P.O. Box 800      Attn: Jeffrey Freedman
10 Terrace Court PO Box 7398      Hackensack, NJ 07602             2000 Avenue of the Stars
Madison, WI 53707-7398                                             Los Angeles, CA 90067


JMBM LLP                          Morrison & Morrison              Sterling Legal Solutions, Inc.
1900 Avenue of the Stars          222 Souther Riverside Plaza      Attn: Stephanie Sterling
Los Angeles, CA 90067             Chicago, IL 60606                26895 Aliso Creek Rd., B-129
                                                                   Aliso Viejo, CA 92656


UDR-Eight 80                      UDR-Eight 80                     Sterling Legal Solutions, Inc.
1590 Adams Avenue                 Agent for Service of Process     Agent for Service of Process
PO Box 2350                       330 N. Brand Blvd., Suite 700    720 14th Street
Costa Mesa, CA 92628              Glendale, CA 91203               Sacramento, CA 95814

SprintFWD, LLC                    Comma,8 LLC
Attn: Bryan Arp                   Attn: Bryan Arp
703 Pier Avenue, Suite B #632     703 Pier Avenue, Suite B #632
Hermosa Beach CA 90254-0000       Hermosa Beach CA 90254-0000
         Case 8:22-bk-10948-SC    Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05               Desc
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In re Fitness Anywhere LLC          Counsel for Woodforest National Bank   Michael J Hauser
File No. 9744                       ReedSmith                              United States Trustee
RSN UST, 20 Largest and Secured     Marsha Houston/Christopher Rivas       411 W Fourth St Suite 7160
                                    355 South Grand Avenue, Suite          Santa Ana, CA 92701-4593
SERVICE BY OVERNIGHT MAIL
                                    2900 Los Angeles, CA, 90071

Committee                           Committee                              Committee
Exemplar Design, LLC                Core Health & Fitness, LLC             United Parcel Service, Inc.
Attention: Matt Nelson              Attention: Sy Mares                    Attention: Farah C. Spainhour
4680 Parkway Drive, Suite 300       4400 NE 77th Avenue, Suite 250         55 Glenlake Parkway
                                                                           Atlanta, GA 30328
Mason, OH 45040                     Vancouver, WA 98662

Morrison & Foerster LLP             Core Health & Fitness, LLC             Stephen Gould Corporation
Attn: Murray A. Indick              4400 Northeast 77th Avenue             35 South Jefferson Road
425 Market Street                   Suite 300                              Whippany, NJ 07981
San Francisco CA 94105-0000         Manufacturer Land America
                                    Vancouver, WA 98662

Flexport Inc                        UPS Plan 0386NE                        Duane Morris LLP
P.O. Box 207244                     55 Glenlake Parkway NE                 30 South 17th Street
Dallas, TX 75320-7244               Atlanta, GA 30328                      Philadelphia, PA 19103-4196



Buy Box Experts                     MAN Staffing, LLC                      Syzygy Digital Marketing, Inc
3020 N Cullen Ct. Pleasant          550 East Del Amo Boulevard             41 Flatbush Avenue
Grove, UT 84062                     Carson, CA 90746                       Brooklyn, NY 11217



Lahlouh Inc                         US Customs and Border Protection       McCollister's Transportation Group, Inc
Attn: H. John Lahlouh               PO BOX 979126                          8 Terri Lane
1649 Adrian Road                    St. Louis, MO 63197-9000               Burlington, NJ 08016
Burlingame, CA 94010


NetSuite Inc                        Google                                 AMEX Corp Card
500 Oracle Parkway                  P.O. Box 39000                         P.O. Box 0001
Redwood City, CA 94065              San Francisco, CA 94139                Los Angeles, CA 90096



The Trade Desk                      Dirbos Inc.                            Redwood Supply Chain Solutions
42 N Chestnut St.                   27758 Santa Margarita Pkwy             1765 North Elston Avenue Suite 216
Ventura, CA 93001                   Suite 366                              Chicago, IL 60642
                                    Mission Viejo, CA 92691


USA Global Logistics LLC            ISUPPORT WORLDWIDE LLC                 Core Health & Fitness, LLC
255 Madsen Drive                    1019 West James St                     Agent for Service of Process
Bloomingdale, IL 60108              Kent, WA 98032                         330 N. Brand Blvd, Ste 700
                                                                           Glendale, CA 91203


Stephen Gould Corporation           Flexport Inc.                          United Parcel Service, Inc.
Agent for Service of Process        Agent for Service of Process           Agent for Service of Process
2710 Gateway Oaks Drive             5716 Corsa Ave.                        2710 Gateway Oaks Dr.
Ste 150N                            Ste 110                                Ste 150N
Sacramento, CA 95833                Westlake Village, CA 91362             Sacramento, CA 95833
         Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05             Desc
                                 Main Document    Page 13 of 22
McCollister’s Transportation       Netsuite Inc.                        Google
Systems, Inc.                      Agent for Service of Process         Agent for Service of Process
Agent for Service of Process       2710 Gateway Oaks Dr.                2710 Gateway Oaks Dr.
2710 gateway Oaks Dr.              Ste 150N                             Ste 150N
                                                                        Sacramento, CA 95833
Ste 150N                           Sacramento, CA 95833
Sacramento, CA 95833


Man Staffing LLC                   Trade Desk                           Dirbos
Attn: Miguel A Navarro             Agent for Service of Process         Agent for Service of Process
                                                                        101 N. Brand Blvd. 11th Floor
550 E Del Amo Blvd.                2710 Gateway Oaks Dr.
                                                                        Glendale, CA 91203
Suite C                            Ste 150N
Carson, CA 90746                   Sacramento, CA 95833


Redwood Logistics LLC             Counsel for Creative Artists Agency   Counsel for Core Health & Fitness, LLC
C/O COGENCY GLOBAL INC.           Michael I. Gottfried, Esq. RSN        Ali M.M. Mojdehi RSN
1325 J STREET STE 1550            Elkins Kalt Weintraub Reuben          Barnes & Thornburg LLP
                                                                        655 West Broadway, Suite 1300
SACRAMENTO, CA 95814              Gartside LLP 10345 W. Olympic Blvd.   San Diego, CA 92101
                                  Los Angeles, CA 90064

Sprint FWD, LLC
Attn: Bryan Arp
703 Pier Avenue
Suite B #632
Hermosa Beach CA 90254-0000
        Case 8:22-bk-10948-SC         Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05          Desc
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In re TRX Holdco, LLC
File No. 9745
SERVICE BY US MAIL


                                        E38-TRX, LLC                          TRX Holdco Incentive Holdings, LLC
E38-TRX Holdco Investments, LLC         450 Newport Center Drive, Suite 590   450 Newport Center Drive, Suite 590
450 Newport Center Drive, Suite 590     Newport Beach CA 90266-0000           Newport Beach CA 90266-0000
Newport Beach CA 90266-0000
                Case 8:22-bk-10948-SC       Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05                 Desc
Label Matrix for local noticing             Core Health
                                            Main        & Fitness, LLCPage 15 of 22
                                                   Document                         TRX Holdco, LLC
0973-8                                       4400 NE 77th Ave. Ste 250                  450 Newport Center Drive
Case 8:22-bk-10948-SC                        Vancouver, WA 98662-6829                   Suite 590
Central District of California                                                          Newport Beach, CA 92660-7648
Santa Ana
Thu Jun 23 10:46:46 PDT 2022
                                SERVICE    BY U.S. MAIL
Santa Ana Division                           26 Fitness, 1nc                            3PL Central LLC
411 West Fourth Street, Suite 2030,          1501 7th Street Ln Southeast               830 S Pacific Coast Hwy Suite l02
Santa Ana, CA 92701-4500                     Hickory, NC 28602-8690                     El Segundo, CA 90245-4841



5 Star Janitorial Inc.                       8020 Consulting LLC                        AMEX Corp Card
7349 Milliken Ave. 1406                      6303 Owensmouth Ave 10th Floor             P.O. Box 0001
Rancho Cucamonga, CA 91730-7435              Woodland Hillsr CA 91367-2262              Los Angeles, CA 90096-0001



Accounting Principles,                       Acorn Paper                                Active Design Systems,
Dept CH 14031                                PO Box 23965                               6216 Autumnwood Dr
Palatine, IL 60055-4031                      Angeles, CA 90023-0965                     Friscor TX 75035-2152



Ada Support Inc.                             Adcom Worldwide                            Admiral Insurance Group
96 Spadina avenue Unit 801                   4300 Raley Boulevard                       PO Box 639824
Toronto, OH 12345                            Sacramento, CA 95838-2858                  Oude Meer, OH 45263-9824



Advanced Exercise                            Anthony S. Erlick                          Apex Vista Fitness Services
861 Southpark Drive #100                     2127 Red Oak Place                         23610 N. 20th Drive, Ste. 8
Littleton, CO 80120-5684                     Danville, CA 94506-2033                    Phoenix, AZ 85085-0627



Aspen Core Fitness, LLC                      Avalara Inc                                Avant Marketing Group
97 Lewis Lane                                Dept CH 16781                              1922 Prospector Avenue
Basalt, CO 81621-9389                        Palatine, IL 60055-6781                    Park City, UT 84060-7287



Avendra LLC                                  Avery Dennison                             Baker Tilly US, LLP
Attn: Controller                             Hong Kong B.V No. 7 , Chun Ying Street T   10 Terrace Court PO Box 7398
P.O. Box 75019                               O Tndustrial Estate New Territories        Madison, WI 53707-7398
Baltimore, MD 21275-5019                     Hong Kong 19720-0000


Bigcommerce                                  BlenderBottle Europe Benley GmbH           Blue Banyan Solutions, Inc.
11305 Four Points Drive Bldg II, Third F     Heinrich-Lanz-Allee 12 60437               1569 Solano Avew Suite 645
Austin, TX 78726-2204                        Frankfurt, Germany 60437-0000              Berkeley, CA 94707-2116



Brand Amp LLC                                Buy Box Experts                            Bynder LLC
1945 Placentia Avenue Bldg C                 3020 N Cullen Ct. Pleasant                 321 Summer Street, Suite 100
Costa Mesa, CA 92627-6274                    Grove, UT 84062-9443                       Boston, MA 02210-1725
                Case 8:22-bk-10948-SC     Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05 Desc
BzBGateway.Net                            (p)C H Document
                                          Main    ROBINSON WORLDWIDEPage
                                                                     INC 16 of 22 Castanea Partners, et a1.
Payment Processing Center                 ATTN BANKRUPTCY TEAM BILL GLAD            Three Newton Executive Park
PO Box 838                                14701 CHARLSON ROAD                       Suite 3O4
Hope Valley, RI 02832-0838                SUITE 2400                                Newton, MA 02462-1462
                                          EDEN PRAIRIE MN 55347-5076

Cole Schotz P.C.                          CommerceHub                               Commercial Fitness Equipment
25 Main Street P.O. Box 800               25736 Network Place                       4686 Isabelle Unit A
Hackensack, NJ 07602-0800                 Chicago, IL 60673-1257                    Eugene, OR 97402-8766



Conde Nast                                Core Hea1th & Fitness, LLC                Corodata Records
l World Trade Center                      4400 Northeast 77th Avenue Suite          PO Box 842638
New York, NY 10007                        3O0 Manufacturer Land America             Los Angeles, CA 90084-2638
                                          Vancouver, WA 98662


Corodata Shredding Inc.                   Corporation Service Company               Crackyl Media Inc.
PO Box 846137                             Po Box 13397                              1955 Ashgrove Court
Los Angeles, CA 90084-6137                Philadelphiar PA 19101-3397               London, Canada N6K 4S2



Creative Artists Agency                   Crunch Franchising, LLC                   Crystal & Company
2000 Avenue of the Stars Speakers Dept.   1 Harbour Place, Suite 230                Wall Street Station
Los Angeles, CA 90067-4705                Portsmouth, NH 03801-3837                 PO Box 1405
                                                                                    New York, NY 10268-1405


Culligan Water of Ontario                 Cybersource Corporation                   Cyclops Marine Ltd
1925 Burgundy Pl                          PO Box 742842                             Unit 25 The Slipway, Port Solent
Ontario, CA 91761-2317                    Los Angeles, CA 90074-2842                Portsmouth, United Kingdom PO6 4TR



Czarnowski Display Service,               DGI Logistics                             DHL x5964
6067 Eagle Way                            7350 Transit Rd                           16592 Collections Center Drive
Chicago, IL 60678-1060                    Williamsville, NY 14221-6174              Chicago, IL 60693-0001



DPI - Digital Print Imaging               DSV Air & Sea Inc.                        Degree, Inc DBA Lattice
645 Mariposa Street                       2100 West l95Th Street                    PO Box 207585
San Francisco, CA 94107-2514              Torrance, CA 90501                        Dallas, TX 75320-7585



Dirbos Inc.                               Duane Morris LLP                          Ecore International, Inc
27758 Santa Margarita Pkwy Suite 366      30 South l7Th Street                      PO Box 21691
Mission Viejo, CA 92691-6709              Philadelphia, PA 19106-2350               New York, NY 10087-1691



Elite Forklift Service and Repairs        Engine Yard, Inc                          Equity 38, LLC
12398 Antigua Drive                       580 Market Street Suite 150               450 Newport Center Drive, Suite 590
Mira Lomaz CA 91752                       San Francisco, CA 94104-5427              Newport Beach, CA 92660-7648
                Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05             Desc
Equity 38, LLC                          Ethan Sernoff
                                        Main   Document  Page 17 of 22     Exemplar Design
75 14th St NE Ste 2700                  18214 S. Grasle Road                    4680 Parkway Drive Suite 300
Atlanta, GA 30309-7602                  Oregon City, OR 97045-8061              Mason, OK 45040-7979



FBI National Academy Associates         FIT Summit Pte.                         Fastenal Company
1 Range Road                            35b Boat Quay                           2001 Theurer Blvd
Quantico, VA 22135-0001                 Singapore, Singapore 49824-0000         Winona, MN 55987-9902



Fedex Express                           Fedex Freight                           Fedex Trade Networks Canada ACH
PO Box 7221                             PO Box 21415                            Box 916200
Pasadena, CA 91109-7321                 Pasadena, CA 91185-1415                 Toronto, Canada M5W 0E9



Ferrellgas, LP                          Fidelity                                Fitness Anywhere LLC
PO Box 173940                           PO Box 73307                            450 Newport Center Drive, Suite 590
Denver, CO 80217-3940                   Chicago, IL 60673-7307                  Newport Beach, CA 92660-7648



Fitness Anywhere, Inc.                  Five Star Transport                     Flexport Inc
Attn: Murray A. Indick                  18530 Damon Drive                       P.O. Box 207244
425 Market Street                       Hesperia, CA 92345-7431                 Dallas, TX 75320-7244
San Francisco, CA 94105-2532


Franklin Retail Solutions               Freighthawk Xpress                      Frontier Communications Corporation
310 Spring Street                       255 Madsen Drive                        40l Merritt 7
West Roxbury, MA 02132-5419             Bensenville, IL 60106                   Norwalk, CT 06854



Full Sail Enterprises, Inc.             GSA-IFF - GSAIOI                        Getty Images US ,lnc.
15632 Product Laner Ste. A              USDA Office of the CFO FMLOB provider   PO Box 953604
Huntington Beach, CA 92649-1346         2300 Main St 2SE                        St. Louis, MO 63195-3604
                                        Kansas Cityr MO 64108-2416


GoExceed                                Gohea1th Urgent Care                    Google
655 W. Grand Ave Suite                  5555 Glenridge Connector Suite          P.O. Box 39000
Elmhurst, IL 60126-1060                 Atlanta, GA 30342-4759                  San Francisco, SF 94139-0001



Google Voice Inc                        HUNG01                                  Haymaker Partners, LLC
1600 Amphitheatre Parkway               Vicky Ya-chi Hung                       450 Newport Center Drive, Suite 590
Mountain View, CA 94043-1351            No 60 Sec 1 Zongcheng Rd Shilin         Manhattan Beach, CA 92660-7648
                                        Taipei, Taiwan 00111-0000


Hearst Magazine Media, Inc.             Helix Human Capital                     Helpmonks LLC
3540 Toringdon Way Building #7          18210 Edna Road                         9793 Lima Cir
Charlotte, NC 28277-4969                Jonestown, TX 78645-3407                Commerce City, CO 80022-6222
                Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05 Desc
Humane                                  IHRSA Document
                                        Main             Page 18 of 22     ISUPPORT WORLDWIDE LLC
1350 West Venture Drive                 70 Fargo Street                            1019 West James St
Janesville, WI 53546-9479               Boston, MA 02210-1588                      Kent, WA 98032-4332



Influx Inc                              Innomark Communications, LLC               Instantsearch
8605 Santa Monica Blvd                  420 Distribution Circle PO Box 715035      5375 Beeehwood Lane
West Hollywood, CA 90069-4109           Fairfield, OH 45014-5473                   Los Altos, CA 94024-7128



Intercultural Elements                  J.B. HUNT                                  JAS Forwarding Netherlands BV
5 Wei estra e                           615 JB Hunt Corporate Drive                Breguetlaan Oude Meer,
Leipzig, Germany 04299-0000             Lowellz AR 72745-9143                      Netherlands 01438



JASF01                                  JMBM LLP                                   Jack Nadel International
Jas Forwarding Inc.                     1900 Avenue of the Stars                   PO Box 8342
Dept 3570 PO Box 123570                 Los Angeles, CA 90067-4308                 Pasadena, CA 91109-8342
Dallas, TX 75312-3570


John Hutchinson                         John Hutchison Cobra                       Johnson Controls Security Solutions
665 Blair Avenue                        665 Blair Avenue                           PO Box 371967
Piedmont, CA 94611-3445                 Piedmont, CA 94611-3445                    Pittsburgh, PA 15250-7967



KLAVIYO                                 Kanaree.io                                 Katten Muchin Rosenman LLP
125 Summer Street Floor 6               3802 South 16th Street                     Attn: Jan Harris Cate, Esq.
Boston, MA 02110-1641                   Chickasha, OK 73018-7775                   515 South Flower Street, Suite 1000
                                                                                   Los Angeles, CA 90071-2212


Katten Muchin Rosenmann LLP             Keith Design Group                         Kustomer, Inc.
Attn: Jan Harris Cate, Esq.             11558 Henness Road                         5 Penn Plazar l9th Floor
515 South Flower Street, Suite 1000     Truckee, CA 96161-2988                     New York, NY 10001
Los Angeles, CA 90071-2212


Lahlouh Inc                             Land America                               Law Office of Michael A. Zuercher, Inc.
1649 Adrian Road                        Ecoldyn Limited R.2207 2208,               4105 Via Largavista
Burlingame, CA 94010-2103               22F Island Place Towerz Island Place 510   Palos Verdes Estates, CA 90274-1123
                                        North Point
                                        Hong Kong

LexDellmeier Germany                    Littler Mendelson, PC                      Localytics
Nymphenburger Str. 23                   2301 McGee Street Suite 800                101 Arch Street, 8th Floor
Munich, Germany 80335-0000              Kansas City, MO 64108-2662                 Boston, MA 02110-7500



MAN Staffing, LLC                       Marin Lazic                                McCollisterls Transportation Group, Inc
550 East De1 Amo Boulevard              13 19 Glassop Street Balmain               8 Terri Lane
Carson, CA 90746                        Sydney, Australia NSW 2041                 Burlington, NJ 08016-4901
                Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05 Desc
Medallia Inc                            Microsoft
                                        Main      Corporation
                                               Document       Page 19 of 22 Missouri Deparment of Revenue
575 Market Street, Ste 1850             One Microsoft Way                         Taxation Division
San Francisco, CA 94105-5803            Redmond, WA 98052-8300                    PO Box 3400
                                                                                  Jefferson City, MO 65105-3400


Mitel                                   Morrison & Morrison                       Neogrid
ShoreTel Inc.                           222 Souther Riverside Plaza               6750 North Andrews Avenue
28760 Network Place                     Chicago, IL 60606                         Fort Lauderdale, FL 33309-2173
Chicago, IL 60673-1287


Netsuite Inc                            North Climb Fitness Equipment Servies     OMS
500 Oracle Parkway                      33 Shore Breeze Driver Unit 410           45 Collingwood Dr
Redwood City, CA 94065-1677             Torontor Canada M8V 0G1                   Cranston, RI 02921-2610



PHITBOD, LLC                            Pacful Printing                           Pacific Customs Brokers
221221 fb                               11311 White Rock rd                       1400 A Street
Jefferson City, MO 65101                Rancho Cordova, CA 95742-6876             Blaine, WA 98230-5212



Packaging Plus                          Paragon Brokerage, Inc                    Pitney Bowes Lease
501 North Smith Avenue Suite 1O2        720 Industrial Blvdw Suite 400            PO Box 371887
Corona, CA 92878-4367                   Grapevine, TX 76051-8642                  Pittsburgh, PA 15250-7887



Prime Fitness                           Priority l Inc.                           Propack CAD
25027 Oak Drive                         1800 E Roosevelt                          7351 Vantage Way
Damascus, MD 20872-1801                 Little Rock, AR 72206-2516                Delta, BC, Canada V4G lC9



Prosource Fitness Equipment             Pyramid Case                              RH Incentive Holdings II,
6503 Hilburn Drive                      122 Manton Avenue                         Attn: Murray A. Indick
Raleigh, NC 27613-1908                  Box 4                                     425 Market Street
                                        Providence, RI 02909-3369                 San Francisco, CA 94105-2532


RH Incentive Holdings Ir LLC            Radial                                    Rakuten Marketing LLC
Attn: Murray A. Tndick                  PO Box 204113                             6985 S. Union Park Center, Suite 300
425 Market Street                       Dallas, TX 75320-4114                     Midvale, UT 84047-6078
San Francisc, CA 94105-2532


Ravins Business Services                Red Points Solutions,S.L                  Redwood Supply Chain Solutions
1750 4th St                             38 Carrer de Berl n                       1765 North Elston Avenue Suite 216
Hood River, OR 97031-6703               Barcelona, Spain 08029-0000               Chicago, IL 60642-1501



Refund Sniper LLC                       Rewind Fitness LLC                        Right Side Up, LLC
988 Allen Lane                          7111 West 151st Street #296               9901 Brodie Lane, Suite 160
Woodmere, NY 11598-1705                 Overland Park, KS 66223-2231              PMB515
                                                                                  Austin, TX 78748-5892
                Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05             Desc
Robyn Hagan Cain                        Ryan Heft
                                        Main   Document  Page 20 of 22     SPS Commerce Inc
1121 N 2nd St                           3600 Highway 3lE                        333 South Seventh Street, Suite 101
Nashville, TN 37207-5436                Bethpage, TN 37022                      Minneapolis, MN 55402-2421



Samantha Milk                           Singer Burke Zimmer, LLP                Soldiers to Sidelines
1005 Wigwam Parkway                     6345 Balboa Boulevard Suite 375         8234 Burnley Road
Henderson, NV 89074-8247                Encino, CA 91316-1536                   Towson, MD 21204-1808



Sorinex                                 (p)SOUTHERN CALIFORNIA EDISON COMPANY   Sprint FWD LLC
193 LITTON DR                           1551 W SAN BERNARDINO ROAD              703 Pier Avenue
Lexington, SC 29073-8010                COVINA CA 91722-3407                    Suite B #632
                                                                                Hermosa Beach, CA 90254-3943


Staples - STAP01                        Stephen Gould Corporation               (p)STERLING LEGAL SOLUTIONS INC
Staples Business Advantage              35 South Jefferson Road                 ATTN STEPHANIE STERLING
Dept LA                                 Whippany, NJ 07981-1043                 26895 ALISO CREEK RD #B-129
Chicago, IL 60696-3689                                                          ALISO VIEJO CA 92656-5301


Student Beans US                        Sunrise Nationwide USA Inc.             Systems Continuity
l00 Wall Street Suite 902               101 West Walnut Street Suite 129        21681 Cabrosa
New York, NY 10005                      Gardena, CA 90248-3142                  Mission Viejo, CA 92691-1242



Syzygy Digital Marketingz               TMA Worldwide, Inc.                     TRX Incentive Holdings, LLC
41 Flatbush Avenue                      4038 Aitken Dairy Road                  450 Newport Center Drive
Brooklyn, NY 11217-1160                 Rocklin, CA 95677-4027                  Suite 590
                                                                                Newport Beach, CA 92660-7648


Teads, Inc.                             The Fitness Center Service Tech         The Hartford FA082651
55 5th Ave 17th Floor                   4802 West Bexley Park Drive             P.O. Box 415738
New York, NY 10003-4301                 Delray Beach, FL 33445-3573             Boston, MA 02241-5738



The Trade Desk                          Thomas Shaw                             Tigers International Logistics BV
42 N Chestnut St.                       2429 Hines Drive                        Schaapherderweg 24
Ventura, CA 93001-2662                  Los Angeles, CA 90065-3409              2988 CK Ridderkerk
                                                                                Netherlands


Transperfect Translations               U.S. Trustee - Santa Ana                UDR-Eight 80
Attn: Accounts Receivable               411 West Fourth Street                  1590 Adams Avenue PO Box 2350
Three Parks Avenue, 39th Floor          Suite 7160                              Costa Mesa, CA 92628-2350
New York, NY 10016-5918                 Santa Ana, CA 92701-4500


UPS Plan 0386NE                         US Customs and Border Protection        USA Global Logistics LLC
55 Glenlake Parkway NE                  PO BOX 979126                           255 Madsen Drive
Atlanta, GA 30328-3474                  St. Louis, MO 63197-9000                Bloomingdale, IL 60108-2638
                Case 8:22-bk-10948-SC               Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05 Desc
Uline Shipping Supplies                             United Document
                                                    Main   States Trustee (SA)Page 21 of 22 Verizon Media Inc.
PO Box 88741                                         411 W Fourth St., Suite 7160                         770 Broadway
Chicago, IL 60680-1741                               Santa Ana, CA 92701-4500                             New York, NY 10003-9522



Vincent Wagliardo                                    Wellness Solutions Inc.                              Wholesale Pallets, Inc.
216 Fallen Road                                      6614 James Madison Hwy                               142 S. San Antonio Ave
Ennis, TX 75119-0049                                 Haymarket, VA 20169-2713                             Pomona, CA 91766-2141



Wilco Collective LLC                                 Wistia, Inc.                                         Woodforest National Bank
12 Pinckney Street                                   17 Tudor Street                                      Attn: CMB Loan Operations
Greenville, SC 29601-1422                            Cambridge, MA 02139-4558                             25231 Grogans Mill Road, 6th Floor
                                                                                                          The Woodlands, TX 77380-3112


Woodforest National Bank                             Workday Inc.                                         XD Fit, LLC
Attn: David A. Macdonald                             6110 Stoneridge Mall Road                            4680 Parkway Dr.
1330 Lake Robbins Drive, Suite 500                   Pleasanton, CA 94588-3211                            Suite 300
The Woodlands, TX 77380-3203                                                                              Monroe, OH 45050


Zeal Fitness Training LLC                            Zendesk                                              Zoom Video Communications, Inc
3401 East Laurel Avenue                              Dept CH 19895                                        Box 888843 Suite 600
Visalia, CA 93292-3433                               Palatine, IL 60055-9895                              Los Angeles, CA 90088-8843



monday.com Ltd                                       Jonathan Gottlieb                                    Krikor J Meshefejian
6 Yitzhak Sadeh Street                               Levene, Neale, Bender, Yoo & Golubchik L             Levene, Neale, Bender, Yoo & Golubchik L
Tel Avivz CA 00677-7506                              2818 La Cienega Ave                                  2818 La Cienega Avenue
                                                     Los Angeles, CA 90034-2645                           Los Angeles, CA 90034-2645


Lindsey L Smith                                      Ron Bender
Levene Neale Bender Yoo & Golubchik LLP              Levene, Neale, Bender, Yoo & Golubchik L
2818 La Cienega Avenue                               2818 La Cienega Avenue
Los Angeles, CA 90034-2645                           Los Angeles, CA 90034-2645




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


C.H. Robinson                                        Southern California Edison                           Sterling Legal Solutions, Inc.
PO Box 9121                                          P.O. Box 300                                         26895 Aliso Creek Rd., B-129
Minneapolis, MN 55480-9121                           Rosemead, CA 91722                                   Aliso Viejo, CA 92656




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                Case 8:22-bk-10948-SC   Doc 91 Filed 06/23/22 Entered 06/23/22 15:28:05 Desc
(u)Creative Artists Agency LLC          (u)Request
                                        Main       Courtesy NEF Page 22 of 22
                                               Document                       (u)Woodforest National Bank




(d)TRX Holdco, LLC                      (u)Zoe Ades                               End of Label Matrix
450 Newport Center Drive, Suite 590                                               Mailable recipients   199
Newport Beach, CA 92660-7648                                                      Bypassed recipients     5
                                                                                  Total                 204
